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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN

                                                   :
Tonya Williams,                                    :
                                                     Civil Action No.: 1:13-cv-01273
                                                   :
                       Plaintiff,                  :
       v.                                          :
                                                   :
Law Offices of Scherr & McClure PA,                :
                                                     DEMAND FOR JURY TRIAL
                                                   :
                       Defendant.                  :
                                                   :
                                                   :

                               COMPLAINT & JURY DEMAND

       For this Complaint, the Plaintiff, Tonya Williams, by undersigned counsel, states as

follows:

                                          JURISDICTION

       1.      This action arises out of Defendant’s repeated violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et. seq. (the “TCPA”).

       2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

       3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that

Defendants transact business here, Plaintiff resides in this judicial district, and a substantial

portion of the acts giving rise to this action occurred here.

                                              PARTIES

       4.      The Plaintiff, Tonya Williams (“Plaintiff”), is an adult individual residing in

Muskegon, Michigan, and is a “person” as defined by 47 U.S.C. § 153(10).

       5.      Defendant Law Offices of Scherr & McClure PA (“Law”), is a Florida business

entity with an address of 1064 Greenwood Boulevard, Suite 328, Lake Mary, Florida 32746, and

is a “person” as defined by 47 U.S.C. § 153(10).


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                                              FACTS

        6.      Within the last four years, Law contacted Plaintiff in an attempt to locate an

individual unknown to Plaintiff.

        7.      At all times mentioned herein, Defendants called Plaintiff on her cellular

telephone using an automatic telephone dialing system (“ATDS” or “Predictive Dialer”) and/or

by using a prerecorded or artificial voice.

        8.      When Plaintiff answered ATDS calls from Law, she would hear a prerecorded

message intended for “Francisco”, an individual about who Plaintiff has no knowledge.

        9.      Plaintiff never provided her cellular telephone number to Law, and has never

given Law prior express consent to place ATDS calls to her.

        10.     In a conversation that took place during April, 2013, Plaintiff requested that Law

cease placing autodial calls to her cellular phone.

        11.     Despite Plaintiff’s request, and despite never having consent to place such calls,

Law continued to harass Plaintiff with ATDS calls to her cellular phone at a rate of up to two

calls on a daily basis.

                                              COUNT I

        VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                            47 U.S.C. § 227, et seq.

        12.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

        13.     At all times mentioned herein and within the last four years, Law called Plaintiff

on her cellular telephone using an ATDS or predictive dialer and/or by using a prerecorded or

artificial voice.




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       14.     Plaintiff did not provide her consent to be contacted on her cellular telephone and

in fact instructed Law to stop all calls to her and cease calling her cellular telephone.

       15.     Law continued to place automated calls to Plaintiff’s cellular telephone using a

prerecorded voice knowing that it lacked consent to call her number. As such, each call placed

to Plaintiff was made in knowing and/or willful violation of the TCPA, and subject to treble

damages pursuant to 47 U.S.C. § 227(b)(3)(C).

       16.     The telephone number called by Law was assigned to a cellular telephone service

for which Plaintiff incurs charges for incoming calls pursuant to 47 U.S.C. § 227(b)(1).

       17.     The calls from Law to Plaintiff were not placed for “emergency purposes” as

defined by 47 U.S.C. § 227(b)(1)(A)(i).

       18.     As a result of each call made in negligent violation of the TCPA, Plaintiff is

entitled to an award of $500.00 in statutory damages for each call placed in violation of the

TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

       19.     As a result of each call made in knowing and/or willful violation of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to 47

U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                                     PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:

                   1. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C); and

                   2. Such other and further relief as may be just and proper.

                     TRIAL BY JURY DEMANDED ON ALL COUNTS




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Dated: November 22, 2013


                                    Respectfully submitted,

                                    By: /s/ Sergei Lemberg, Esq.
                                    Attorney for Plaintiff Tonya Williams
                                    LEMBERG LAW L.L.C.
                                    1100 Summer Street
                                    Stamford, CT 06905
                                    Telephone: (203) 653-2250
                                    Facsimile: (888) 953-6237
                                    Email: slemberg@lemberglaw.com




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